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IN THE UNITED STATES BANKRUPTCY COURT
FG>R THE DISTRICT OF DELAWARE

 

ln re Chaprer 15

F.T.K. WOrldWid€ Mfg BVBA a/k/a FTK Case NO_ 17_ ] KG
Worldwide Manufacturing BVBA, [ ( )

 

Debtor in a Foreign Proceeding. l

 

DECLAILATION OF BENNY GOOSSENS IN SUPPORT OF CHAPTER 15
PROCEEI)INGS FOR F.T.K. WORLDWIDE MFG BVBA A/K/A
FTK VVORLDWIDE MANUFACTURING BVBA

I, Benny Goossens, hereby declare under penalty of perjury under the laws of the
United States:

l. l arn one of two permanent trustees-in-bankruptcy (each a “Trustee-in
Bankruptcy,” and With Mr. Frans De Roy, the "Trustees-in-Bankruptcy”) for F.T.K. Worldwide
l\/Ifg BVBA a/k/a FTK Worldwide Manufacturing BVBA (“ET_K”), appointed by the
Comrnercial Court of Antwerp, Belgium, Antwerp Division (the “Belgian Court”) by order dated
Decernber 21, 2017 (the “Qomrnencernent Order”), Dutch and English translation copies of
Which are attached hereto as _Exhibits A and B, respectively

2. Each of the Trustees-in-Bankruptcy has independent full authority to act

on behalf of FTK Without obtaining the Written consent of the other Trustee-in-Bankruptcy.

 

l The last four digits of the Debtor’s company number are 7960. The Debtor’s main corporate and mailing

address is Schupstraat 9-l l, P.O. Box 75, 2018 Antwerp l.

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3. Except as otherwise indicated, l have personal knowledge of the matters
set forth herein and, if called as a witness, would testify competently hereto. All statements
made herein are true and correct to the best of my knowledge, information, and belief

4. On November 24, 2017, the Public Prosecutor of the Court of First
Instance of Antwerp (the “Belgian Prosecutor”) petitioned the Belgian Court to declare FTK

bankrupt and appoint a trustee-in-bankruptcy over FTK (the “Petition”).

 

5. ln making that Petition, the Belgian Prosecutor was exercising his official
prosecutorial duties and was not seeking any recovery or remuneration on behalf of the Belgian
Government or any of its organs or agencies. The Belgian Prosecutor also did not initiate the
Belgian Proceeding to protect a specific creditor but to protect the public interest and the public’s
confidence in the Belgian commercial system. The Petition was consistent with the Belgian
Prosecutor’s mandate to serve the public policy and ensure an impartial and transparent
administration of FTK’s assets for the benefit of its creditors The appointment of the Trustees-
in-Bankruptcy was the process available to the Belgian Prosecutor by which an independent
third-party was able to take control over FTK and its assets, prevent any improper dissipation of
assets or removal of assets from Belgium, obtain a report from the Trustees-in-Bankruptcy as to
the results of the investigations which might be relevant to the Belgian Prosecutor’s criminal
investigations of EXelco, which is a related entity of FTK, and ensure the impartial and
transparent administration of FTK’s assets for the benefit of all creditors.

6. The Trustees-in-Bankruptcy are required to communicate with the Belgian
Prosecutor’s office with respect to any possible suspected illegal activity. Pursuant to Article 60
of the Belgian Bankruptcy Act of 1997 (the “Belgian Bankruptcy Act”), within two (2) months

of the commencement of a Belgian case, the Trustees-in-Bankruptcy are required to provide the

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Belgian Prosecutor’s office with a report describing the Trustees-in-Bankruptcy’s findings as to
the overall financial health of FTK and the main causes and circumstances leading up to the
bankruptcy.

7. On December 21, 2017, the Belgian Court issued the Commencement
Order finding FTK to be bankrupt The Belgian Court further appointed Mr. De Roy and myself
as Trustees-in-Bankruptcy of FTK supplanting the management of FTK.

8. On Deeember 22, 2017, the Belgian Court issued a certification of our
authority as Trustees-in-Bank.ruptcy to act in all matters on behalf of FTK (the “Certification of
Authority”). Judge Thomas Van Houtte granted us the “full powers under the Belgian
bankruptcy law in order to manage the bankruptcy of [FTK], to seize, and, take care of the
realization of all assets of that company wherever they are located...” Certification of Authority,
at l. Further, Judge Van Houtte stated, “I also declare hereby that l am aware that the above
mentioned trustees in bankruptcy seek recognition as foreign representatives to be granted by the
US Courts, and, l fully support and encourage such application for recognition.” A copy of the
Certification of Authority is attached hereto as Exhibit C.

9. Our appointment as Trustees-in-Bankruptcy of FTK divested the
management and directors and officers as well as shareholders of FTK of any authority over
FTK and supplanted the management of FTK pursuant to Belgian corporate law. Thus, Mr. De
Roy and l are now the sole parties with the power and authority to control FTK’s business and
assets. We are the only legal representatives of FTK at this time, and, as such, must authorize
any action taken by or on behalf of FTK.

l(). Furthermore, as a result of our appointment as the Trustees-in-Bankruptcy

of FTK, Mr. De Roy and l are under an explicit legal obligation under the laws of Belgium to

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marshal and protect the assets of FTK under the supervision of our judge commissioner Mr.
Henri Colman. The Belgian Proceeding grants us, the Trustees-in-Bankruptcy, very broad
powers which include but are not limited to (i) collection of assets, (ii) adjudication of claims,
(iii) chairing meeting of creditors, (iv) filing Suits on behalf of the debtor, (v) pursuing assets,
(vi) distributing available proceeds, and (vii) reporting the Belgian Prosecutor of any suspected
criminal activity discovered while performing our duties, and (viii) if needed, continuing the
company’s operations as a going-concern The Belgian Proceeding encompasses all of FTK’s
creditors - secured, priority and unsecured creditors, both in Belgium and worldwide.

ll. Our duties as the Trustees-in-Bankruptcy in the Belgian Proceeding
include the obligation to administer the assets of FTK in Belgium and abroad which includes, but
is not limited to, (i) inventorying all assets, (ii) investigating any loss of assets, (iii) investigation
of the accounting of the bankrupt company, (iv) if needed, starting proceedings against liable
persons (such as directors) involving in the company, (v) ordering such urgent measures as are
needed to protect the assets in the bankrupt’s estate, (vi) locating and securing estate assets, (vii)
marketing any available assets for sale to obtain the highest and best offer for FTK and its
creditors, (viii) seeking recognition in foreign countries in order to administer and collect assets
and pursue claims outside of Belgium, and (ix) distributing any available proceeds to FTK’s
creditors pursuant to Belgian law.

12. The Belgian bankruptcy procedure is - to my understanding - very similar
to the U.S. bankruptcy process Once a bankruptcy case is commenced, trustees-in-bankruptcy
are tasked with investigating debtor’s assets and subsequently trying to maximize the value of
debtor’s assets and generating the highest and best proceeds for the estate. The former directors

of the bankrupt company w:ill be heard on that matter (article 75 §l of the Belgian Bankruptcy

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Act). Sometimes, depending on the specific facts of the case, the trustees-in-bankruptcy are
allowed to continue operating the bankrupt business (if not already shut down) for a certain
period of time if the trustees-in-bankruptcy believe that sale of the business as a going-concern is
likely and will generate higher proceeds to the estate. This would require an authorization by the
Judge Commissioner, and is to be confirmed by the court.

13. In every aspect of a Belgian bankruptcy proceeding, creditors, no matter
where located in the world, are afforded similar protections as they are under U.S. law. The
trustees-in-bankruptcy are required to provide a notice to all creditors (as far as they are known)
as to the deadline for filing a proof of claim in the case (article 62 of the Belgian Bankruptcy
Act). Generally, that deadline is set out in the declaration of bankruptcy, but expires anyway one
year after that declaration (article 72 of the Belgian Bankruptcy Act). The notice of the deadline
is provided by an announcement in the Belgian Official Gazette and by a circular issued by the
trustee-in-bankruptcy as soon as the creditors are known. Creditors may file claims without the
need to hire Belgian counsel and there is no requirement they travel to Belgium to submit their
claims. Belgian trustees in bankruptcy always remain under the supervision of the Judge
Commissioner and the Bankruptcy Court. ln addition, creditors can contest any actions taken by
the trustees before that Court.

14. Once the deadline for filing a proof of claim passes, claims are verified by
the trustee-in-bankruptcy with creditors being afforded the opportunity to participate in the claim
verification process. In case of a dispute, the claim will be subject to a decision made by the
Court, in which the creditor will be heard with all his arguments Once all proofs of claims are
filed, verified and ultimately resolved by a Court’s decision (if needed), a trustee-in-bankruptcy

will notify all creditors for a meeting in Court on a fixed date and time (Meeting of Creditors)

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(article 79 Belgian Bankruptcy Act). 'l` here again, creditors can ultimately consent or not. If one
of those creditors contests the proposed scheme of distribution, this again can be subject to a
decision of the Court. Once after every possible dispute has been settled, can the distribution of
the proceeds of the bankrupt estate go forward to the respective creditors taking into account the
creditors’ priority The Belgian priority scheme is ~ to my understanding - similar to the U.S. in
that unsecured creditors’ and general priority creditors’ claims are junior to the special priority
creditors, mortgagees and lien-holders in the distribution of the assets of a bankrupt debtor’s
estate, although there may be some differences (Belgian Act on Mortgages and Priorities of
1851).

15. Followiing our appointment as Trustees-in-Bankruptcy, our investigation
into FTK’s business and assets revealed the following:

0 FTK is based solely in Belgium and all corporate-level decision-making
and corporate administrative functions affecting FTK is or were
centralized in Antwerp, Belgium.

0 FTK has no offices or employees located in the United States.

0 FTK is owned by Lior Kunstler (50%) and Jean Paul Tolkowsky (50%).

¢ FTK was previously a debtor-in-possession in a Chapter ll filed before
this Court (Case No. l7-l203l) which was subsequently dismissed on
December ll, 2017; the dismissal order has been now appealed without
the Trustees-in-Bankruptcy’s consent.

0 FTK is not a subsidiary or parent of any other company, including but not
limited to the companies referenced on the organizational chart attached
hereto as Exhibit D.

0 FTK has no current employees

0 All of FTK’s principal non-insider creditors are based in Belgium or
Europe.

0 FTK is a private limited liability company formed under the law of
Belgium.

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o There are no other foreign proceedings that give power to control FTK’S
business or assets

16. ln an oral ruling on December 11, 2017, and by an order entered on
December 12, 2017, the Trustees-in-Bankruptcy were previously recognized as foreign
representatives of a related entity Exelco NV in Exelco NV’s chapter 15 proceeding filed with
the United States Bankruptcy Court for the District of Delaware, Case No. 17-12409. [Case No.
17-12409, D.l. 27].

l7. FTK, along with Exelco NV, Exelco North America, Inc., Ideal Diamond
Trading Limited, Ideal Diamond Trading USA, Inc., Exelco (Asia) Limited, and Exelco
lntemational Limited, was a debtor-in-possession in six chapter 11 cases pending before this
Court which were filed between September 26 and December 3, 2017 (each a “U.S. Proceeding,”
and collectively, the “Mroceedings”). The U.S. Proceedings were dismissed at a hearing
held on December 11, 2017 and an Order confirming the dismissals was entered as of record on
December 13, 2017.

18. At this time there is no pending Chapter 11 case for FTK. However, the
displaced management of FTK has attempted once again to interfere with the Trustees-in-
Bankruptcy’s duties to take control over FTK and its assets by filing an appeal of the dismissal
order of FTK’s U.S. Proceeding five days after FTK was declared bankrupt and the Trustees-in-
Bankruptcy were appointed to, among other things, take control over its assets In re FTK
Worldwz`de Mfg. BVBA, Case No. 17-12031, D.l. 82 (Dec. 26, 2017).

l declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct to the best of my knowledge, information and belief.

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I declare under penalty of perjury under the iaws of the United States of America
that the foregoing is true and correct to the best of my knowledg information and belief

Dated: December 29, 2017 /W~

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